Case 4:23-cr-00235-GKF Document 18 Filed in USDC ND/OK on 09/18/23 Page 1 of 1

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF OKLAHOMA

United States of America,

VS.

Nicholas Lawrence Guilfoyle,

Plaintiff,

Defendant(s).

Case No.: 23-cr-235-GKF-3

ORDER APPOINTING COUNSEL

Defendant has completed an affidavit as to his/her financial ability to employ counsel. Upon
review, the Court finds that Defendant is financially unable to obtain counsel. In accordance with the
Northern District of Oklahoma Plan for Implementing the Criminal Justice Act of 1984, the Court

finds and orders as follows:

O , the Federal Public Defender is appointed to represent Defendant in
all further proceedings until relieved by order of the Court.

X Stephen Layman , an attorney from the Court’s panel of private attorneys, established
pursuant to the Criminal Justice Act for the Northern District of Oklahoma, is appointed to
represent Defendant in all further proceedings until relieved by order of the Court.

O Defendant will reimburse the government for the reasonable cost of providing representation

in accordance with his/her ability to pay as determined by further order of the court.

$
Date: 9/18/2023

IA Arraignment Indictment Detention

Judge——_

_ Steele, U.S Magistrate

(12/2021)
